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                           FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT

         MAVERICK GAMING LLC,                        No. 23-35136

                Plaintiff-Appellant,                D.C. No. 3:22-cv-
                                                      05325-DGE
          v.

         UNITED STATES OF AMERICA;                     OPINION
         U.S. DEPARTMENT OF THE
         INTERIOR; DEB HAALAND, in her
         official capacity as Secretary of the
         Interior; BRYAN NEWLAND, in his
         official capacity as Assistant Secretary
         Indian Affairs; JAY INSLEE, in his
         official capacity as the Governor of
         Washington; ROBERT FERGUSON,
         in his official capacity as the Attorney
         General of Washington; ALICIA
         LEVY, in her official capacity as
         Chair of the Washington State
         Gambling Commission; JULIA
         PATTERSON, in her official capacity
         as Vice-Chair of the Washington State
         Gambling Commission; BUD
         SIZEMORE, in his official capacity as
         Commissioner of the Washington
         State Gambling Commission;
         KRISTINE REEVES, in her official
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         capacity as Commissioner of the
         Washington State Gambling
         Commission; SARAH LAWSON, in
         her official capacity as Commissioner
         of the Washington State Gambling
         Commission; STEVE CONWAY, in
         his official capacity as ex officio
         member of the Washington State
         Gambling Commission; JEFF HOLY,
         in his official capacity as ex officio
         member of the Washington State
         Gambling Commission; SHELLEY
         KLOBA, in her official capacity as ex
         officio member of the Washington
         State Gambling Commission;
         BRANDON VICK, in his official
         capacity as ex officio member of the
         Washington State Gambling
         Commission; TINA GRIFFIN, in her
         official capacity as Director of the
         Washington State Gambling
         Commission,

                   Defendants-Appellees,

             and


         SHOALWATER BAY TRIBE,

                   Intervenor-Defendant-
                   Appellee.
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                  Appeal from the United States District Court
                    for the Western District of Washington
                  David G. Estudillo, District Judge, Presiding

                     Argued and Submitted March 27, 2024
                             Seattle, Washington

                            Filed December 13, 2024

             Before: Kim McLane Wardlaw, William A. Fletcher, and
                         Eric D. Miller, Circuit Judges.

                          Opinion by Judge Wardlaw;
                          Concurrence by Judge Miller


                                   SUMMARY *


              Indian Regulatory Gaming Act / Fed. R. Civ. P. 19

             The panel affirmed the district court’s dismissal of
         Maverick Gaming LLC’s action—which alleged that the
         State of Washington’s tribal-state compacts allowing sports
         betting on tribal land violate the Indian Regulatory Gaming
         Act, the Equal Protection Clause, and the Tenth
         Amendment—because the Shoalwater Bay Indian Tribe is a
         required party that cannot be joined to the litigation.
            The panel held that the Tribe is a required party under
         Fed. R. Civ. P. 19(a) because the Tribe has a legally

         *
          This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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         protected interest in the lawsuit that may be impaired or
         impeded in the Tribe’s absence, and rejected Maverick’s
         argument that the federal government could adequately
         represent the Tribe’s interests. The panel held that the Tribe
         cannot feasibly be joined to the litigation where the Tribe
         enjoys sovereign immunity. Finally, the panel held that the
         litigation cannot proceed in equity and good conscience
         without the Tribe, and rejected Maverick’s argument that the
         litigation should continue in the Tribe’s absence under the
         public rights exception.
             Concurring, Judge Miller agreed that Maverick’s action
         cannot proceed because the Tribe is a required party but
         sovereign immunity prevents the Tribe from being joined
         without its consent. He wrote separately to explain that
         (1) this Court’s precedent on Rule 19 has not adequately
         considered the distinctive character of litigation under the
         Administrative Procedure Act, and (2) a competitive injury,
         by itself, is not enough to make a tribe a required party.
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                                COUNSEL

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         Beneski, Assistant Attorneys General; Office of the
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         Compacting Tribes.
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                                  OPINION

         WARDLAW, Circuit Judge:

              In 1988, Congress enacted the Indian Regulatory
         Gaming Act (“IGRA”) “to provide a statutory basis for the
         operation of gaming by Indian tribes as a means of
         promoting tribal economic development, self-sufficiency,
         and strong tribal governments.” 25 U.S.C. § 2702(1). To
         this end, IGRA provides a regulatory scheme for the creation
         and administration of tribal-state gaming compacts. These
         gaming compacts allow tribes to conduct casino-style
         gambling, classified under IGRA as “class III” games. In
         the State of Washington, all twenty-nine federally
         recognized tribes have entered into IGRA gaming compacts
         that allow them to offer class III gaming on their land. Class
         III gaming is otherwise illegal in Washington.
             Maverick Gaming LLC (“Maverick”) is a casino gaming
         company. Maverick owns several hotels and casinos in
         Nevada and Colorado, where it offers a variety of class III
         games, such as roulette and craps. In 2019, shortly after the
         Supreme Court struck down a federal statute that prohibited
         states from allowing sports gambling, see Murphy v. Nat’l
         Collegiate Athletic Ass’n, 584 U.S. 453 (2018), Maverick
         acquired nineteen cardrooms in the State of Washington.
         Maverick subsequently lobbied the Washington legislature
         to enact a law that would allow it to offer sports betting at
         these cardrooms, but without success. Consistent with its
         criminal prohibition of all other forms of class III gaming,
         the Washington legislature did not legalize sports betting for
         private entities. However, the legislature enacted a law that
         allows Indian tribes to amend their gaming compacts to
         authorize sports betting on their land.
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             In response, Maverick filed this lawsuit. Maverick’s
         complaint alleges that Washington’s tribal-state compacts
         and the sports betting compact amendments violate IGRA,
         the Equal Protection Clause, and the Tenth Amendment of
         the United States Constitution. The complaint names as
         defendants the United States and various federal officials
         responsible for the approval of the tribal-state gaming
         compacts, as well as the various Washington state officials
         involved in the execution and administration of those
         compacts. Although Maverick seeks relief that would
         invalidate the gaming compacts of all tribes in Washington,
         Maverick did not include any of these tribes as parties to the
         suit.
             The Shoalwater Bay Indian Tribe (“Tribe”) moved to
         intervene in the suit for the limited purpose of filing a motion
         to dismiss. The Tribe argues that it is a required party that
         cannot be joined in the action on account of its sovereign
         immunity. The district court granted the motion to intervene
         and the ensuing motion to dismiss. Because we agree with
         the district court that the Tribe is a required party that cannot
         be joined in the litigation, and because this suit cannot
         proceed in equity and good conscience in the Tribe’s
         absence, we affirm.
                      I. FACTUAL BACKGROUND
                              A. Federal History
             In 1987, the Supreme Court decided its landmark
         decision in California v. Cabazon Band of Mission Indians,
         480 U.S. 202 (1987). Invoking the “traditional notions of
         Indian sovereignty and the congressional goal of Indian self-
         government, including its ‘overriding goal’ of encouraging
         tribal self-sufficiency and economic development,”
         Cabazon held that a state cannot enforce its generally
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         applicable gaming regulations on tribal land without
         Congress’s express authorization. Id. at 217 (quoting New
         Mexico v. Mescalero Apache Tribe, 462 U.S. 324, 335
         (1983)).
              In response, Congress enacted IGRA. See In re Indian
         Gaming Related Cases (Coyote Valley II), 331 F.3d 1094,
         1097 (9th Cir. 2003). While drafting the legislation, the
         Select Committee on Indian Affairs acknowledged the
         importance of gaming to tribal sovereignty, explaining that
         the income from gaming has enabled tribes “to provide a
         wider range of government services to tribal citizens and
         reservation residents than would otherwise have been
         possible” and often spells “the difference between an
         adequate governmental program and a skeletal program that
         is totally dependent on Federal funding.” S. Rep. No. 100-
         446, at 2–3 (1988). But the Committee also recognized that
         some sort of regulatory scheme was necessary “to protect
         both the tribes and the gaming public from unscrupulous
         persons.” Id. at 2. Congress thus created IGRA “to balance
         the need for sound enforcement of gaming laws and
         regulations, with the strong federal interest in preserving the
         sovereign rights of tribal governments to regulate activities
         and enforce laws on Indian land.” Id. at 5.
             To this end, IGRA’s stated purpose is “to provide a
         statutory basis for the operation of gaming by Indian tribes
         as a means of promoting tribal economic development, self-
         sufficiency, and strong tribal governments,” while
         simultaneously seeking “to provide a statutory basis for the
         regulation of gaming by an Indian tribe.” 25 U.S.C.
         § 2702(1)–(2). To further these goals, IGRA requires that
         tribes maintain the “sole proprietary interest” for any gaming
         activity. Id. § 2710(b)(2)(A). The statutory scheme further
         specifies that the net revenues from tribal gaming may be
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         used solely “(i) to fund tribal government operations or
         programs; (ii) to provide for the general welfare of the Indian
         tribe and its members; (iii) to promote tribal economic
         development; (iv) to donate to charitable organizations; or
         (v) to help fund operations of local government agencies.”
         Id. § 2710(b)(2)(B), (d)(1)(A)(ii).
              IGRA creates three classes of gaming, each of which is
         subject to a different level of regulation. Class I games
         include social games for prizes of minimal value and
         traditional forms of Indian gaming. Id. § 2703(6). Class II
         games include bingo and certain card games.                Id.
         § 2703(7)(A). At issue in this case are class III games, the
         most heavily regulated form of gaming under IGRA. This
         class is comprised of “all forms of gaming that are not class
         I gaming or class II gaming,” id. § 2703(8), including
         blackjack, roulette, and craps, as well as slot machines and
         sports betting, see id. § 2703(7)(B). “Class III gaming is not
         only ‘a source of substantial revenue’ for tribes, but the
         lifeblood on ‘which many tribes ha[ve] come to rely.’”
         Chicken Ranch Rancheria of Me-Wuk Indians v. California,
         42 F.4th 1024, 1032 (9th Cir. 2022) (quoting Coyote Valley
         II, 331 F.3d at 1097, 1099–1100) (alteration in original).
             IGRA permits class III gaming on tribal land if three
         conditions are met: (1) the tribe has authorized the class III
         gaming by a tribal ordinance or resolution; (2) the state in
         which the tribe is located permits such gaming for any
         purpose by any person, organization, or entity; and (3) the
         class III gaming is conducted in conformity with a tribal-
         state compact that is in effect. 25 U.S.C. § 2710(d)(1). The
         last requirement necessitates the existence of a tribal-state
         gaming compact, which “prescribes rules for operating
         gaming, allocates law enforcement authority between the
         tribe and State, and provides remedies for breach of the
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         agreement’s terms.” Michigan v. Bay Mills Indian Cmty.,
         572 U.S. 782, 785 (2014). “The compacting process gives
         to states civil regulatory authority that they otherwise would
         lack under Cabazon, while granting to tribes the ability to
         offer legal class III gaming.” Artichoke Joe’s Cal. Grand
         Casino v. Norton, 353 F.3d 712, 716 (9th Cir. 2003). The
         creation of a tribal-state compact begins with a tribe
         “request[ing] the State in which [its] lands are located to
         enter into negotiations for the purpose of entering into a
         Tribal-State compact governing the conduct of gaming
         activities.” 25 U.S.C. § 2710(d)(3)(A). IGRA imposes a
         duty upon the states to “negotiate with the Indian tribe in
         good faith to enter into such a compact,” and provides the
         tribe with statutory remedies if no compact results from
         these negotiations. Id. § 2710(d)(3)(A), (d)(7).
             Once the state and tribe have entered into a compact, the
         compact is sent to the Secretary of the Interior (the
         “Secretary”) for approval. Id. § 2710(d)(3)(B), (d)(8). The
         Secretary may disapprove a compact only if it violates
         (1) any provision of IGRA; (2) any other provision of federal
         law that does not relate to jurisdiction over gaming on Indian
         lands; or (3) the trust obligations of the United States to
         Indians. Id. § 2710(d)(8)(B). If the Secretary does not
         approve or disapprove a compact within 45 days of
         submission to the Secretary for approval, the compact “shall
         be considered to have been approved” by operation of law,
         “but only to the extent the compact is consistent with”
         IGRA. Id. § 2710(d)(8)(C). Approved compacts become
         effective after the Secretary publishes notice in the Federal
         Register. Id. § 2710(d)(3)(B), (d)(8)(D).
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                         B. Washington State History
             For the first 83 years of Washington’s existence, the
         state’s constitution prohibited all forms of gambling. See
         Wash. Const. art. II, § 24 (amended 1972). A 1972
         constitutional amendment authorized specific types of
         gambling, but only if approved by a supermajority of the
         state legislature or electorate. See id. Shortly thereafter, the
         state legislature created the Washington State Gambling
         Commission and passed a law authorizing certain limited
         forms of gambling, such as charitable activities, raffles, and
         amusement games. See Wash. Rev. Code § 9.46.0311. But
         because it is otherwise “the policy of the legislature,
         recognizing the close relationship between professional
         gambling and organized crime, to restrain all persons from
         seeking profit from professional gambling activities in this
         state,” id. § 9.46.010, most forms of casino-style gaming,
         including those classified as class III games under IGRA, are
         illegal on non-tribal lands in Washington, see generally id.
         § 9.46.
             A few years after IGRA went into effect, the legislature
         enacted Washington Revised Code § 9.46.360, which directs
         the Gambling Commission to negotiate “compacts for class
         III gaming on behalf of the state with federally recognized
         Indian tribes in the state of Washington” in accordance with
         IGRA. Wash. Rev. Code § 9.46.360(2). Ultimately, after
         negotiations and possible public hearings, the proposed
         compact is sent to the governor for review and final
         execution. Id. § 9.46.360(6). Washington has since
         negotiated and entered into gaming compacts with all
         twenty-nine federally recognized tribes within its borders,
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         allowing the tribes to conduct class III gaming on their land. 1
         Class III gaming has been a source of great economic value
         to the tribes. In 2020, Washington’s tribal casinos provided
         more than 14,000 jobs. 2 And in 2021, Washington’s tribal
         gaming industry netted over $2 billion. 3
             In March 2020, the Governor of Washington signed into
         law House Bill 2638 (“H.B. 2638”). H.B. 2638 created
         Washington Revised Code § 9.46.0364, which allows a tribe
         to amend its class III gaming compact “to authorize the tribe
         to conduct and operate sports wagering on its Indian lands”
         pursuant to IGRA and Washington Revised Code
         § 9.46.360. Before enacting H.B. 2638, the legislature
         considered legislation that would have allowed private
         cardrooms, such as those owned by Maverick, to conduct
         sports wagering. 4 Maverick also testified in opposition to
         H.B. 2638, advocating instead for a law that would authorize
         sports betting at licensed cardrooms in addition to tribal


         1
           See Wash. State Gambling Comm’n, Tribal gaming compacts and
         amendments        (last     visited     July     28,   2024),
         https://www.wsgc.wa.gov/tribal-gaming/gaming-compacts.
         2
          Wash. Indian Gaming Ass’n, The Economic & Community Benefits of
         Tribes in Washington, 12 (May 2022) (last visited July 27, 2024),
         https://tinyurl.com/4dauyxkv.
         3
           Wash. State Gambling Comm’n, Gambling Industry Overview 2022, 2
         (2022) (last visited July 27, 2024), https://tinyurl.com/mr2rzrst.
         4
           Senators King and Rivers proposed a bill that would have authorized
         sports wagering at cardrooms and racetracks. See S.B. 6277, 66th Leg.,
         2020 Reg. Sess. (Wash. 2020). Senator Rivers also proposed an
         amendment to H.B. 2638 that would have allowed licensed cardrooms to
         conduct sports wagering. See 2638-S.E AMS RIVE JOSU 302, 66th
         Leg., 2020 Reg. Sess. (Wash. 2020). These proposals were not adopted.
         Id.
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         casinos. 5   The legislature ultimately decided against
         allowing private entities to offer sports betting, explaining:

                  It has long been the policy of this state to
                  prohibit all forms and means of gambling
                  except where carefully and specifically
                  authorized and regulated. The legislature
                  intends to further this policy by authorizing
                  sports wagering on a very limited basis by
                  restricting it to tribal casinos in the state of
                  Washington. Tribes have more than twenty
                  years’ experience with, and a proven track
                  record of, successfully operating and
                  regulating gaming facilities in accordance
                  with tribal gaming compacts. Tribal casinos
                  can operate sports wagering pursuant to these
                  tribal gaming compacts, offering the benefits
                  of the same highly regulated environment to
                  sports wagering.

         2020 Wash. Sess. Laws ch. 127, § 1. In 2021 and 2022, the
         legislature again rejected bills that would have made it legal
         to offer sports betting at cardrooms and racetracks. 6 Since

         5
           Maverick’s Chief Executive Officer, Eric Persson, and several other
         representatives of the company testified before the House Committee on
         Gaming & Commerce in opposition to H.B. 2638. See H.B. Rep. 2638,
         66th Leg., 2020 Reg. Sess., at 6–7, 8–9 (Wash. 2020). Summarizing this
         testimony, the House Bill Report explains that those who opposed the
         bill argued that private cardrooms should be allowed to offer sports
         betting because “[l]icensed card rooms are heavily regulated, just as
         tribal gaming is,” id. at 6, and allowing only tribal casinos to offer sports
         betting “creates an unfair playing field,” id. at 8.
         6
          See S.B. 5212, 67th Leg., Reg. Sess. (Wash. 2021); H.B. 1674, 67th
         Leg., Reg. Sess. (Wash. 2022).
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         then, twenty of Washington’s federally recognized tribes
         have received the Secretary’s approval for compact
         amendments allowing sports wagering on their land. 7
                     C. Shoalwater Bay Indian Tribe’s History
             The Shoalwater Bay Indian Tribe is a federally
         recognized Indian tribe located on the Shoalwater Bay
         Indian Reservation (“Reservation”) in rural western
         Washington. 8      Like the other twenty-eight federally
         recognized tribes in Washington today, the Tribe has
         reached agreement with the State on a gaming compact that
         allows it to offer class III gaming on its land. 9
             Despite ultimately reaching agreement on a gaming
         compact with the State, the Tribe’s relationship with the
         State is best characterized as adversarial. In 1998, after
         several years of the Tribe’s efforts to negotiate a gaming
         compact, and the State’s refusal to do so, the Tribe began
         operating 108 gambling machines at the Reservation’s
         casino over the objection of the State and without a compact.
         See United States v. Shoalwater Bay Indian Tribe, 205 F.3d
         1353, 1999 WL 1269343, at *1 (9th Cir. 1999). In response,
         the United States filed an in rem forfeiture action and seized
         the Tribe’s gambling machines. Id. Undeterred, the Tribe
         installed a different type of gaming machine on tribal
         property the following year. Further enforcement action
         followed. The National Indian Gaming Commission issued
         a Notice of Violation and Order of Closure, which accused

         7
             Wash. State Gambling Comm’n, supra note 1.
         8
           See Indian Entities Recognized by and Eligible to Receive Services
         from the United States Bureau of Indian Affairs, 88 Fed. Reg. 2112, 2114
         (Jan. 12, 2023).
         9
             See Indian Gaming, 67 Fed. Reg. 68152-02 (Nov. 8, 2002).
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         the Tribe of violating IGRA by conducting class III gaming
         activities on its land without a tribal-state compact. The
         conflict persisted until the United States Department of the
         Interior’s Office of Hearings and Appeals enjoined the
         National Indian Gaming Commission from taking further
         enforcement action against the Tribe in 2002, at which point
         the Tribe and the State were able to reach an agreement,
         negotiating and entering into a gaming compact that became
         effective with the Secretary’s approval in November 2002. 10
             The Tribe has since negotiated and received the
         Secretary’s approval for three amendments to its compact.11
         The most recent amendment, effective September 15, 2021,
         authorizes the Tribe to offer sports gambling. 12
             Today, the Reservation’s casino and restaurant are
         operated by Willapa Bay Enterprises, and help to sustain the
         Tribe’s economic well-being. Incorporated by the Tribe in
         2007, Willapa Bay Enterprises employs 120 individuals,
         approximately thirty percent of whom are tribal members,
         tribal spouses, or the immediate family members of tribal
         members. The casino serves as a gathering place for the
         Tribe and its surrounding community and is a source of pride
         for the Tribe’s members.



         10
              See Indian Gaming, 67 Fed. Reg. 68152, 68152-02 (Nov. 8, 2002).
         11
            See Indian Gaming, 72 Fed. Reg. 30392-01, 30392 (May 31, 2007);
         Indian Gaming, 80 Fed. Reg. 31918-02, 31918 (June 4, 2015); Indian
         Gaming, Approval of Tribal-State Class III Gaming Compact in the State
         of Washington, 86 Fed. Reg. 51373-01, 51373 (Sept. 15, 2021).
         12
            See Indian Gaming; Approval of Tribal-State Class III Gaming
         Compact in the State of Washington, 86 Fed. Reg. 51373-01, 51373
         (Sept. 15, 2021).
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                   II. PROCEDURAL BACKGROUND
             After failing to persuade Washington officials to enact
         legislation that would allow sports betting at its cardrooms,
         Maverick decided to try a new strategy. On January 11,
         2022, Maverick sued the various federal officials
         (collectively, “Federal Defendants”) and Washington state
         officials (collectively, “State Defendants”) responsible for
         the creation, approval, and administration of the Washington
         tribes’ gaming compacts and sports betting compact
         amendments in the United States District Court for the
         District of Columbia. The complaint did not name any of
         Washington’s twenty-nine federally recognized tribes as
         defendants.
             Maverick’s complaint alleged three claims. The first
         claim, against the Federal Defendants under the
         Administrative Procedure Act (“APA”), alleged that the
         Secretary’s approval of the Washington tribes’ sports betting
         compact amendments violated IGRA, the Equal Protection
         Clause of the U.S. Constitution, and the anticommandeering
         principle of the Tenth Amendment (“APA claim”).
         Maverick sought declaratory relief to that effect, as well as a
         declaration that the Tribes’ sports gaming violated IGRA
         and sought vacatur of the Secretary’s approval of the sports
         betting amendments.
             Maverick’s second claim against the State Defendants,
         brought under 42 U.S.C. § 1983, equitable principles, and
         the Declaratory Judgment Act, alleged that the state
         officials’ execution and administration of the tribal-state
         compacts and the sports betting amendments violated IGRA
         and related federal statutes, the Equal Protection Clause, and
         the anticommandeering principle of the Tenth Amendment
         (“Equal Protection claim”).         Maverick again sought
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         declaratory relief to that effect. Maverick also sought an
         injunction prohibiting members of the Washington State
         Gambling Commission from continuing to administer the
         compacts and sports betting amendments and the governor
         of Washington from entering into any new compacts.
             In its third claim, also against the State Defendants under
         42 U.S.C. § 1983, equitable principles, and the Declaratory
         Judgment Act, Maverick alleged that the state’s exemption
         of the tribes from its criminal prohibition on most forms of
         class III gaming violated the Constitution’s guarantee of
         equal protection (“Criminal Prohibition claim”). Again,
         Maverick sought declaratory relief to that effect, and an
         injunction prohibiting the State Defendants from enforcing
         those criminal laws against Maverick. 13
             On February 24, 2022, the State Defendants moved to
         transfer venue to the Western District of Washington based
         on the D.C. District Court’s lack of personal jurisdiction
         over them and in the interests of justice and convenience. In
         response, Maverick moved for leave to amend its complaint
         to drop the State Defendants as defendants, even though it
         maintained its challenge to the Washington laws. In
         opposition, the State Defendants argued that they were
         required parties under Federal Rule of Civil Procedure 19(a).
         Without ruling on the motion for leave to file the amended
         complaint, the D.C. District Court granted the State
         Defendants’ motion to transfer the case to the Western
         District of Washington on April 28, 2022. Maverick then
         filed its First Amended Complaint, which retained the State
         Defendants and stated identical claims as its first complaint.


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           On each claim, Maverick also sought an award of nominal damages
         and reasonable costs (including attorney’s fees).
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             Shortly thereafter, the Tribe moved to intervene for the
         limited purpose of filing a motion to dismiss under Federal
         Rule of Civil Procedure 12(b)(7) contending that it is a
         required party under Federal Rule of Civil Procedure 19.
         The district court granted the Tribe’s motion to intervene on
         September 29, 2022, and four days later the Tribe moved to
         dismiss the First Amended Complaint. Both the Federal
         Defendants and the State Defendants supported the Tribe’s
         motion.
             The district court granted the Tribe’s motion to dismiss,
         ruling that the Tribe is a required party under Rule 19(a).
         Because of “the long history of tribal gaming and associated
         employment benefits for the tribes and the surrounding
         community” the district court found that Maverick’s suit
         may impair the Tribe’s legally protected interest in “the
         economic and sovereign rights” conferred by its gaming
         compact. The district court rejected Maverick’s argument
         that existing parties to the suit could adequately represent
         these interests in the Tribe’s absence, explaining that, under
         Diné Citizens Against Ruining Our Environment v. Bureau
         of Indian Affairs, 932 F.3d 843 (9th Cir. 2019) and its
         progeny, the Federal Defendants’ interests in defending their
         approval of the sports betting compact amendments “clearly
         diverge” from the Tribe’s sovereign interest in the continued
         operation of class III gaming.
             Next, because the Tribe had not waived its sovereign
         immunity by intervening for the limited purpose of asserting
         that it was a required party under Federal Rule of Civil
         Procedure 19(a), the district court concluded that the Tribe
         could not feasibly be joined in the litigation. The district
         court weighed the equitable factors to be considered when
         determining whether “in equity and good conscience,” Fed.
         R. Civ. P. 19(b), the action should proceed or be dismissed,
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         and concluded that dismissal was required. The district court
         noted the “‘wall of circuit authority’ requiring dismissal
         when a Native American tribe cannot be joined due to its
         assertion of tribal sovereign immunity.” Klamath Irrigation
         Dist. v. U.S. Bureau of Reclamation, 48 F.4th 934, 947 (9th
         Cir. 2022) (quoting Deschutes River All. v. Portland Gen.
         Elec. Co., 1 F.4th 1153, 1163 (9th Cir. 2021)).
             Finally, the district court concluded that the threat posed
         by Maverick’s suit to the Tribe’s “legal entitlements is
         sufficient such that the public rights exception,” which
         applies in cases filed to vindicate a public right, did not relax
         the joinder rules here. The court noted its doubt that this case
         was brought in the public interest given Maverick’s detailed
         statements in the complaint explaining how “invalidation of
         the tribal compacts would increase Maverick’s commercial
         revenue.”
                       III. STANDARD OF REVIEW
              “We review a district court’s decision to dismiss a case
         for failure to join a required party under Rule 19 for abuse of
         discretion, and we review any legal questions underlying
         that decision de novo.” Klamath Irrigation, 48 F.4th at 943.
         We review de novo issues of tribal sovereign immunity.
         Jamul Action Comm. v. Simermeyer, 974 F.3d 984, 991 (9th
         Cir. 2020).
                              IV. DISCUSSION
             A party may move for dismissal of a complaint under
         Federal Rule of Civil Procedure 12(b)(7) for “failure to join
         a party under Rule 19.” Fed. R. Civ. P. 12(b)(7). Rule 19
         sets forth a three-step inquiry. First, we determine whether
         the absent party is “required” under Rule 19(a). Klamath
         Irrigation, 48 F.4th at 943. If the absent party is required,
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         we then “determine whether joinder of that party is feasible.”
         Id. If joinder is infeasible, we must then “determine
         whether, in equity and good conscience, the action should
         proceed among the existing parties or should be dismissed.”
         Id. (quoting Fed. R. Civ. P. 19(b)).
           A. The Shoalwater Bay Indian Tribe is a required party.
              We must first determine whether the Tribe is a “required
         party” under Federal Rule of Civil Procedure 19(a). A party
         is required if:

                (A) in that person’s absence, the court cannot
                    accord complete relief among existing
                    parties; or
                (B) that person claims an interest relating to
                    the subject of the action and is so situated
                    that disposing of the action in the
                    person’s absence may:
                    (i) as a practical matter impair or impede
                        the person’s ability to protect the
                        interest; or
                    (ii) leave an existing party subject to a
                         substantial risk of incurring double,
                         multiple, or otherwise inconsistent
                         obligations because of the interest.

         Fed. R. Civ. P. 19(a)(1). The district court concluded that
         the Tribe is a required party under Rule 19(a)(1)(B)(i)
         because the Tribe has a legally protected interest in the
         lawsuit that may be impaired or impeded in the Tribe’s
         absence. We agree.
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                                       1.
              “To come within the bounds of Rule 19(a)(1)(B)(i), the
         interest of the absent party must be a legally protected
         interest and not merely some stake in the outcome of the
         litigation.” Jamul Action Comm., 974 F.3d at 996. This
         interest “must be ‘more than a financial stake.’” Diné
         Citizens, 932 F.3d at 852 (quoting Makah Indian Tribe v.
         Verity, 910 F.2d 555, 558 (9th Cir. 1990)). For example, “an
         interest that arises from terms in bargained contracts may be
         protected, but such an interest must be substantial.” Id.
         (quoting Cachil Dehe Band of Mintun Indians of the Colusa
         Indian Cmty. v. California (Colusa), 547 F.3d 962, 970 (9th
         Cir. 2008)) (quotation marks and alterations omitted).
         However, “[t]here is no precise formula for determining
         whether a particular nonparty should be joined under Rule
         19(a),” Bakia v. Los Angeles Cnty., 687 F.2d 299, 301 (9th
         Cir. 1982) (per curiam), and “we have emphasized the
         ‘practical’ and ‘fact-specific’ nature of the inquiry,” Colusa,
         547 F.3d at 970 (quoting Makah, 910 F.2d at 558).
             The district court correctly concluded that, because of
         the importance of tribal gaming compacts and the revenue
         that these compacts provide to Washington’s federally
         recognized tribes, as well as the long history of tribal gaming
         and its associated benefits for the tribes and their
         surrounding communities, Maverick’s suit implicates the
         Tribe’s legally protected economic and sovereign interests.
         Maverick does not contest this conclusion. In fact, Maverick
         concedes that the Tribe has a legitimate interest in the
         legality of its gaming compact and sports betting
         amendment. Therefore, because Maverick’s APA and equal
         protection claims seek relief that would result in the
         invalidation of the Tribe’s gaming compact and sports
         betting amendment, Maverick does not dispute that the Tribe
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         has a legally protected interest in the first and second claims
         in the First Amended Complaint challenging the Secretary’s
         approval and the State Defendants’ administration of the
         compact and amendment.
             Straying from the text of the complaint and its argument
         below, which focuses on the Tribe’s exemption from
         Washington’s criminal laws prohibiting class III gaming,
         Maverick now contends that the Tribe has no legally
         protected interest in the Criminal Prohibition claim. This
         issue is not preserved for appellate review because it was not
         “raised sufficiently for the trial court to rule on it.”
         Cornhusker Cas. Ins. Co. v. Kachman, 553 F.3d 1187, 1192
         (9th Cir. 2009) (quoting In re E.R. Fegert, 887 F.2d 955, 957
         (9th Cir. 1989)). Maverick states “in passing,” Brownfield
         v. City of Yakima, 612 F.3d 1140, 1149 n.4 (9th Cir. 2010),
         that the district court “could redress Maverick’s injuries by
         simply enjoining the State defendants from enforcing
         [Washington’s criminal laws prohibiting class III gaming]
         against Maverick.” This statement is far removed from a
         specific and distinct argument that the Criminal Prohibition
         claim “does not threaten the Tribe’s compact or its gaming
         activities at all.” See id. Our court generally “will not hear
         an issue raised for the first time on appeal,” Whittaker Corp.
         v. Execuair Corp., 953 F.2d 510, 515 (9th Cir. 1992), and we
         decline to do so here.
                                       2.
            Maverick also argues that the Tribe’s interest will not be
         impaired or impeded because the Federal Defendants can
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         adequately represent the Tribe’s interests in this litigation.14
         “As a practical matter, an absent party’s ability to protect its
         interest will not be impaired by its absence from the suit
         where its interest will be adequately represented by existing
         parties to the suit.” Alto v. Black, 738 F.3d 1111, 1127 (9th
         Cir. 2013) (quoting Washington v. Daley, 173 F.3d 1158,
         1167 (9th Cir. 1999)). We have held that

                 whether an existing party may adequately
                 represent an absent required party’s interests
                 depends on three factors: (1) whether the
                 interests of a present party to the suit are such
                 that it will undoubtedly make all of the absent
                 party’s arguments; (2) whether the party is
                 capable of and willing to make such
                 arguments; and (3) whether the absent party
                 would offer any necessary element to the
                 proceedings that the present parties would
                 neglect.

         Klamath Irrigation, 48 F.4th at 944 (quoting Diné Citizens,
         932 F.3d at 852) (internal quotation marks omitted). The
         complaint states only the APA claim against the Federal
         Defendants; only the State Defendants are named in the
         second and third claims. The district court did not abuse its
         discretion in finding that, under Diné Citizens and Klamath




         14
            Maverick concedes that State Defendants cannot adequately represent
         the Tribe’s interests in this case. See Am. Greyhound Racing, 305 F.3d
         at 1023 n.5.
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         Irrigation, the Federal Defendants will not be able to
         adequately represent the Tribe’s interest here. 15
              In Diné Citizens, a coalition of tribal, regional, and
         national conservation organizations sued the U.S.
         Department of the Interior challenging its reauthorization of
         coal mining activities on land reserved to the Navajo Nation.
         932 F.3d at 847. The plaintiffs challenged the agency’s
         approval of renewals to leases and mining permits possessed
         by the Navajo Transitional Energy Company (“NTEC”), a
         corporation wholly owned by the Navajo Nation, on the
         grounds that the agency’s action violated the requirements
         of the Endangered Species Act (“ESA”) and National
         Environmental Policy Act (“NEPA”). Id. at 847, 849–50.
         There, like here, NTEC intervened for the limited purpose of
         filing a motion to dismiss under Rule 12(b)(7) for failure to
         a join a party required under Rule 19 based on NTCE’s and
         the Navajo Nation’s sovereign immunity. Id. at 850.
             Affirming the district court’s dismissal, we rejected the
         plaintiffs’ argument that the federal government could
         adequately represent the tribe’s interests. We reasoned that,
         “[a]lthough Federal Defendants have an interest in
         defending their decisions, their overriding interest . . . must
         be in complying with environmental laws.” Id. at 855. We
         determined that “[t]his interest differs in a meaningful sense
         from NTEC’s and the Navajo Nation’s sovereign interest in
         ensuring that the Mine and Power Plant continue to operate
         and provide profits to the Navajo Nation.” Id.              We

         15
            Both parties parse the complaint to argue that the Federal Defendants
         can or cannot adequately defend the Tribe’s interest in this action. But
         this analysis is besides the point because Maverick’s concessions below
         require us to assume that if Maverick prevails on any one of its claims
         for relief the Tribe’s economic and sovereign interests may be impaired.
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         explained that a judicial holding that “these statutes required
         something other than what Federal Defendants have
         interpreted them to require could similarly change Federal
         Defendants’ planned actions, affecting the lease, rights-of-
         way, and permits at stake,” and therefore the “Federal
         Defendants’ interest might diverge from that of NTEC.” Id.
             Three years later in Klamath Irrigation, plaintiffs sued
         the federal Bureau of Reclamation (“Reclamation”) to
         challenge the agency’s operating procedures for the
         distribution of water in the Klamath Water Basin. 48 F.4th
         at 938. In adopting these procedures, Reclamation had “the
         ‘nearly impossible’ task of balancing multiple competing
         interests,” including the interests of the irrigation district
         members, the requirements of the ESA, and the federal
         reserved water and fishing rights of the non-party tribes. Id.
         at 940–41. Again, as here, the absent tribes moved to
         intervene, and then immediately “moved to dismiss . . . under
         Federal Rule of Civil Procedure 12(b)(7) for failure to join a
         required party under Federal Rule of Civil Procedure 19,
         arguing that tribal sovereign immunity barred their joinder.”
         Id. at 942.
             We held that Reclamation could not adequately represent
         the absent tribes’ water and fishing rights. Id. at 944–45.
         Applying Diné Citizens, we explained that although the
         federal agency and the absent tribes “share an interest in the
         ultimate outcome of this case, our precedent underscores that
         such alignment on the ultimate outcome is insufficient for us
         to hold that the government is an adequate representative of
         the tribes.” Id. at 945. Rather, because “[t]he Tribes’
         primary interest is in ensuring the continued fulfillment of
         their reserved water and fishing rights, while Reclamation’s
         primary interest is in defending its [action] taken pursuant to
         the ESA and APA,” their interests were “not so aligned as to
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         make Reclamation an adequate representative of the Tribes.”
         Id. at 944–45.
             We agree with the district court that under Diné Citizens
         and Klamath Irrigation, the Federal Defendants cannot
         adequately represent the Tribe’s interests here. The federal
         government and the Tribe undoubtedly “share an interest in
         the ultimate outcome of this case”—they both seek to defend
         the Secretary’s approval of the compacts and sports betting
         compact amendments. Id. at 945. But they “share an interest
         in the ultimate outcome of this case for very different
         reasons.” Id. As the district court explained, “though the
         federal government maintains an interest in defending its
         own analysis that formed the basis of its decision to approve
         the sports-betting compact amendments, it does not share an
         interest in the outcome of the continued approval of the
         sports-betting compact amendments—the continued
         operation of sports-betting at tribal casinos.” In contrast, the
         Tribe is interested in defending the approval of the compacts
         and compact amendments to ensure the continued operation
         of sports betting and other class III gaming on its land.
         Whereas the Federal Defendants’ “interests in this litigation
         begin and end with” defending the compacts, “for the Tribe,
         the stakes of this litigation extend beyond the fate of the
         [compact] and implicate sovereign interests in self-
         governance.” Deschutes River All., 1 F.4th at 1163.
         Because the federal government’s interest in this litigation is
         meaningfully distinct from the Tribe’s, the Federal
         Defendants cannot serve as an adequate representative of the
         Tribe.
             Maverick attempts to distinguish Diné Citizens and
         Klamath Irrigation by arguing that they were challenges to
         the federal agency enforcement of statutes and regulations
         other than IGRA, which were not intended to benefit tribal
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         interests. So in Diné Citizens we found that “[a]lthough
         Federal Defendants have an interest in defending their
         decisions, their overriding interest . . . must be in complying
         with environmental laws.” Diné Citizens, 932 F.3d at 855.
         And similarly, in Klamath Irrigation we concluded that
         “Reclamation has the ‘nearly impossible’ task of balancing
         multiple competing interests in the Klamath Basin,” only
         one of which was the tribes’ federal reserved water and
         fishing rights. Klamath Irrigation, 48 F.4th at 940. By
         contrast, Maverick argues, IGRA was created “to provide a
         statutory basis for the operation of gaming by Indian tribes
         as a means of promoting tribal economic development, self-
         sufficiency, and strong tribal governments,” 25 U.S.C.
         § 2702(1), and requires the Secretary to disapprove any
         compact that violates “the trust obligations of the United
         States to Indians,” 25 U.S.C. § 2710(d)(8)(B)(iii). Maverick
         contends that by defending the Tribe’s compact with
         Washington, the Federal Defendants express their belief that
         the compact benefits the Tribe, and thus the Tribe’s and
         federal government’s interests are aligned. But we do not
         think the analysis so simple. The Secretary of the Interior
         does not consider the tribes’ interests exclusively when
         tasked with approving or disapproving a compact that has
         been reached between a state and a tribe. IGRA requires the
         Secretary to disapprove any compact that violates “any other
         provision of Federal law that does not relate to jurisdiction
         over gaming on Indian lands.”                       25 U.S.C.
         § 2710(d)(8)(B)(ii). Thus, in the event of a conflict between
         the Tribe’s interest in class III gaming and any other
         provision of federal law, IGRA requires the federal
         government to consider, and possibly prioritize, the federal
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         law over the Tribe’s interest, just as in Diné Citizens and
         Klamath Irrigation.16
             Maverick also relies upon Alto and Southwest Center for
         Biological Diversity v. Babbitt, 150 F.3d 1152 (9th Cir.
         1998) (per curiam) to argue that the Federal Defendants can
         serve as an adequate representative of the Tribe. But these
         cases are inapposite. In Alto, we held that the Bureau of
         Indian Affairs could adequately represent the absent tribe’s
         interest in limiting tribal enrollment to qualified individuals
         where “the tribe’s own governing documents vest[ed] the
         United States Department of Interior, Bureau of Indian
         Affairs (“BIA”), with ultimate authority over membership
         decisions.” 738 F.3d at 1115. We also distinguished Alto in
         Diné Citizens on this basis, explaining that “the tribe had
         specifically granted BIA final decisionmaking authority
         over tribal membership issues, making it more plausible that
         the government would represent the tribe’s interest—or that
         the government’s interest and the tribe’s interest had become
         one and the same.” Diné Citizens, 932 F.3d at 855.
            Similarly, in Southwest Center, environmental
         organizations brought an action under the ESA and NEPA to


         16
            Maverick also asserts that Diné Citizens is distinguishable because
         some of the plaintiffs were tribal conservationist organizations, and thus
         there were tribal interests on both sides of the issue. We have indeed
         often found that the federal government cannot adequately represent an
         absent tribe’s interests when there are other tribes acting as plaintiffs in
         the same suit. See Makah, 910 F.2d at 559; Confederated Tribes of
         Chehalis Indian Rsrv. v. Lujan, 928 F.2d 1496, 1500 (9th Cir. 1991)
         (“[T]he United States cannot adequately represent the [absent tribe’s]
         interest without compromising the trust obligations owed to the plaintiff
         tribes.”). But that the plaintiff coalition in Diné Citizens included tribal
         organizations did not factor into the adequate representation analysis
         there. See Diné Citizens, 932 F.3d at 853–56.
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         enjoin the federal government’s use of a newly built water
         storage facility until a further environmental study was
         performed. 150 F.3d at 1153. We found that a non-party
         tribe had “an interest in the [facility] becoming available for
         use as soon as possible,” and that “an injunction would
         impair” that interest. Id. However, we concluded that the
         federal government was an adequate representative of the
         tribe because the federal government and the tribe “share[d]
         a strong interest in defeating [the plaintiff’s] suit on the
         merits and ensuring that the [water storage facility] is
         available for use as soon as possible.” Id. at 1154 (emphasis
         added). The government and the absent tribe did not just
         share the same interest in the outcome of the litigation, but
         they also shared the same reason for that desired outcome—
         imminent use of the water storage facility.
             Here, in contrast, although the Federal Defendants and
         Tribe share an interest in defending the Secretary’s approval
         of the gaming compacts and sports betting amendments, the
         Federal Defendants do not share the Tribe’s sovereign and
         economic interests in protecting and furthering its class III
         gaming operations. Maverick contends that this is an
         improper formulation of the adequate representation inquiry.
         According to Maverick, so long as there is no conflict of
         interest between the government and the Tribe, the federal
         government can adequately represent an absent tribe’s
         interests. Maverick relies upon Washington v. Daley for this
         proposition. However, neither Daley, nor any other
         precedent cited by Maverick, stands for the proposition that
         whether the government can adequality represent a tribe’s
         interests turns solely on whether there is a present conflict of
         interest between the government and the tribe. Rather, we
         have consistently examined (1) “whether the interests of a
         present party to the suit are such that it will undoubtedly
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         make all of the absent party’s arguments; [(2)] whether the
         party is capable of and willing to make such arguments; and
         [(3)] whether the absent party would offer any necessary
         element to the proceedings that the present parties would
         neglect.” Shermoen v. United States, 982 F.2d 1312, 1318
         (9th Cir. 1992) (quoting Cnty. of Fresno v. Andrus, 622 F.2d
         463, 439 (9th Cir. 1980)) (internal quotations omitted);
         Southwest Center, 150 F.3d at 1153–54 (quoting Shermoen,
         982 F.2d at 1318); Daley, 173 F.3d at 1167 (same); Alto, 738
         F.3d 1127–28 (same). In the process of this examination
         some of our older Rule 19 cases have made the statement
         that “[t]he United States can adequately represent an Indian
         tribe unless there exists a conflict of interest between the
         United States and the tribe.” Southwest Center, 150 F.3d at
         1154; see also Daley, 173 F.3d at 1167. But it is evident
         from reading the entire content, the statements form just a
         piece of the analysis, and do not represent a standalone rule.
         Southwest Center, 150 F.3d at 1154 (“The federal
         government and [the tribe] share a strong interest in
         defeating [the] suit on the merits”); see also Daley, 173 F.3d
         at 1167–68 (“[T]he Secretary and the Tribes have virtually
         identical interests in this regard.”); Makah, 910 F.2d at 558
         (“The inquiry is a practical one[,] fact specific, and is
         designed to avoid the harsh results of rigid application.”)
         (internal citation omitted).
             The Tribe contends that the federal government cannot
         be expected to assert an important legal argument that the
         Tribe would raise: That under our precedent, the Tribe can
         lawfully offer class III gaming even without a compact. 17 In

         17
           We offer no view as to the merits of this claim, but simply recognize
         that the Tribe has identified at least one argument that it would make that
         the Federal Defendants could not make on its behalf, as this argument is
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         response, Maverick contends that it is irrelevant whether the
         Federal Defendants would be willing to make this argument,
         because the question of whether the Tribe can offer class III
         gaming without a compact would become pertinent, if ever,
         only after Maverick succeeded in invalidating those
         compacts in this current litigation. But Maverick’s view
         cannot be reconciled with Diné Citizens, which explained
         that the federal government could not adequately represent
         the tribe’s interest because the “Federal Defendants’ interest
         might diverge from that of” the Tribe if the district court
         decided that “the federal agencies’ analyses underlying the
         approval was flawed.” Diné Citizens, 932 F.3d at 855
         (emphasis added).
             And, contrary to Maverick’s statements otherwise, a
         conflict between the Tribe’s and the federal government’s
         interests exists in this case. Although today the Tribe and
         the State of Washington have a valid gaming compact
         pursuant to which the Tribe successfully operates its casino,
         that was not always the case. When Washington refused to
         negotiate a compact with the Tribe in the late 1990s, the
         federal government filed an in rem action against the Tribe,
         seized the Tribe’s gambling machines, and issued a Notice
         of Violation and Order of Closure against the Tribe. At that
         time, the federal government relied on IGRA’s requirement
         that the Tribe have a valid gaming compact in effect to
         prevent the Tribe from offering class III gaming. In light of
         the federal government’s documented history of adverse
         action toward the Tribe in litigation over the Tribe’s gaming


         contrary to federal law. See 25 U.S.C. § 2710(d)(1)(C) (“Class III
         gaming activities shall be lawful on Indian lands only if such activities
         are . . . conducted in conformance with a Tribal-State compact . . . that
         is in effect.”).
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         operations, we agree with the district court that this case
         presents “actual, not hypothetical or unknown conflicts”
         between the federal government and Tribe. Cf. Klamath
         Irrigation, 48 F.4th at 945 (The fact that “the Tribes are in
         active litigation over the degree to which [the federal
         government] is willing to protect the Tribes’ interests in
         several species of fish . . . increases the likelihood that [the
         government] would not ‘undoubtedly’ make all of the same
         arguments that the Tribes would make in this case.”).
             Therefore, even though IGRA was created to promote
         tribal interests and codifies the federal government’s trust
         obligation to the tribes, the federal government’s interest
         will not always align with the interests of the tribes. That is
         because, just like in Diné Citizens and Klamath Irrigation,
         the federal government’s “overriding interest . . . must be in
         complying with [federal] laws,” which “differs in a
         meaningful sense from [the Tribe’s] sovereign interest in
         ensuring that [sports betting and other class III gaming]
         continue to operate and provide profits to the [Tribe].” See
         Diné Citizens, 932 F.3d at 855. In light of these divergent
         interests, the district court did not abuse its discretion in
         finding that the Federal Defendants cannot adequately
         represent the Tribe in this case.
           B. The Shoalwater Bay Indian Tribe cannot feasibly be
                           joined to this litigation.
              Next, we determine whether the Tribe can feasibly be
         joined to the litigation. See Diné Citizens, 932 F.3d at 856.
         Because the Tribe enjoys sovereign immunity, we hold that
         it cannot.
            “Indian tribes are ‘domestic dependent nations’ that
         exercise inherent sovereign authority over their members
         and territories.” Jamul Action Comm., 974 F.3d at 991
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         (quoting Okla. Tax Comm’n v. Citizen Band Potawatomi
         Indian Tribe of Okla., 498 U.S. 505, 509 (1991)). “Among
         the core aspects of sovereignty that tribes possess is the
         common law immunity from suit traditionally enjoyed by
         sovereign powers.” Bodi v. Shingle Springs Band of Miwok
         Indians, 832 F.3d 1011, 1016 (9th Cir. 2016) (internal
         quotation marks and alterations omitted). Although a tribe
         may waive this immunity, such waiver “cannot be implied
         but must be unequivocally expressed.” Id. (quoting Santa
         Clara Pueblo v. Martinez, 436 U.S. 49, 58 (1978)).
             Here, the Tribe has unequivocally expressed its intent to
         not waive its immunity. When the Tribe filed its motion for
         limited intervention in the district court, it included the
         following language:

                For avoidance of doubt, by intervening in this
                action for the limited purpose of moving to
                dismiss under Rules 12(b)(7) and 19, the
                Tribe does not waive, and reserves in full, its
                sovereign immunity. Nothing herein shall be
                construed as waiver, in whole or in part, of
                the Tribe’s immunity, or as the Tribe’s
                consent to be sued, and the legal counsel for
                the Tribe, undersigned, lack authority to
                waive the Tribe’s immunity or consent to the
                jurisdiction of this Court.

         The Tribe’s Chairwoman, Charlene Nelson, also submitted
         a declaration with the motion for limited intervention that
         explained that the Tribal Council had not waived its
         sovereign immunity in this matter nor authorized any of the
         Tribe’s representatives, including its legal counsel, to do so.
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         The Tribe reiterated this same position in its motion to
         dismiss.
             Maverick nevertheless argues that the Tribe waived its
         sovereign immunity by voluntarily intervening in this suit.
         We disagree. It is well-established that a tribe’s voluntary
         participation in litigation for a limited purpose does not
         constitute a blanket waiver of immunity from suit in general.
         Rather, “[t]he scope of the waiver depends on the particular
         circumstances, including the tribe’s actions and statements
         as well as the nature and bounds of the dispute that the tribe
         put before the court.” Quinault Indian Nation v. Pearson for
         Est. of Comenout, 868 F.3d 1093, 1097 (9th Cir. 2017). That
         is why a “tribe’s participation in litigation does not constitute
         consent to counterclaims asserted by the defendants in those
         actions,” McClendon v. United States, 885 F.2d 627, 630
         (9th Cir. 1989); Potawatomi, 498 U.S. at 509–10 (holding
         that a tribe does not waive its immunity to compulsory
         counterclaims by voluntarily filing suit), and why “a tribe’s
         voluntary participation in administrative proceedings does
         not waive its immunity in a subsequent court action filed by
         another party seeking review of the agency proceedings,”
         Bodi, 832 F.3d at 1017; Quileute Indian Tribe v. Babbitt, 18
         F.3d 1456, 1460 (9th Cir. 1994) (finding that the tribe’s
         “voluntary participation [in an administrative action] is not
         the express and unequivocal waiver of tribal immunity that
         we require in this circuit”); Kescoli v. Babbitt, 101 F.3d
         1304, 1310 (9th Cir. 1996) (holding that tribes “did not
         waive their immunity by intervening in [an] administrative
         proceeding[]”).
             Accordingly, where, as here, a tribe intervenes for the
         limited purpose of a motion to dismiss the action because it
         is a required party that cannot be joined due to its sovereign
         immunity, the court’s jurisdiction is “limited to the issues
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         necessary to decide” that controversy, only. McClendon,
         885 F.2d at 630. “[I]t would defy logic” to conclude that
         “the Tribe clearly manifested its intent to waive the very
         immunity defense that it asserts.” Bodi, 832 F.3d at 1018.
             Maverick takes out of context a statement in our decision
         in United States v. Oregon, 657 F.2d 1009 (9th Cir. 1981) to
         the effect that the tribe’s “intervention” in that particular
         case waived its sovereign immunity. In that case, a tribe
         intervened in an action to establish and protect its treaty
         fishing rights and entered into a consent decree that
         “expressly retained [the court’s] continuing jurisdiction in
         order to expedite enforcement of its decree.” Id. at 1011.
         Over the years, the court exercised its jurisdiction to modify
         the consent decree at the behest of the parties. Id. The
         district court adopted an agreement by the parties and later
         intervenors in an additional court order, which included a
         provision stating: “[I]n the event that significant
         management problems arise from this agreement that cannot
         be resolved by mutual agreement, the parties agree to submit
         the issues to federal court for determination. In any event,
         the Court shall retain jurisdiction over the case.” Id. at 1011,
         1016.
             Over a decade later, an action was brought to enforce the
         consent decree, and we determined that the tribe waived its
         sovereign immunity because it had expressly consented to
         suit. Id. at 1014–16. We reasoned that, “[b]y intervening [in
         the initial action], the Tribe assumed the risk that its position
         would not be accepted, and that the Tribe itself would be
         bound by an order it deemed adverse.” Id. at 1015. Indeed,
         we found that the tribe had “expressly consented to th[e]
         suit” by entering into the conservation agreement, in which
         the tribe “agree[d] to submit the issues to federal court for
         determination.” Id. at 1016. Thus, the tribe submitted to
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         jurisdiction and engaged in the litigation for eleven years,
         and only attempted to assert sovereign immunity when the
         outcome appeared likely to favor conservation at the expense
         of its fishing rights.
             Here, far from the “express[] consent” at issue in
         Oregon, the Tribe entered this litigation fully asserting its
         rights as a sovereign not subject to the court’s jurisdiction.
         See id.
              Maverick’s reliance on Lapides v. Board of Regents of
         University System of Georgia, 535 U.S. 613 (2002), in which
         the Supreme Court found that the State of Georgia’s removal
         of a state court lawsuit against it to federal court amounted
         to a waiver of its Eleventh Amendment immunity, is also
         unavailing. In Bodi, we rejected a plaintiff’s similar
         “attempt to extend Lapides from the Eleventh Amendment
         context to the tribal immunity context.” 832 F.3d at 1018.
         We explained that “States can waive their Eleventh
         Amendment immunity through litigation conduct that would
         not effect a waiver of tribal sovereign immunity,” and thus
         “parallels between the two are of limited utility.” Id. at 1020.
         Accordingly, although a State’s removal of a state court case
         to federal court may waive its Eleventh Amendment
         immunity, a tribe’s removal of a state court action filed
         against it to federal court does not waive its sovereign
         immunity where the tribe “asserted its immunity defense
         promptly upon removal to federal court and neither it, nor
         any Defendant, ever voiced an intent to litigate on the
         merits.”     Id. at 1017.      Thus, while there may be
         circumstances where a State’s voluntary participation in
         litigation waives its Eleventh Amendment immunity, see,
         e.g., In re Lazar, 237 F.3d 967, 978 (9th Cir. 2001) (holding
         that when a state “files a proof of claim in a bankruptcy
         proceeding, the state waives its Eleventh Amendment
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         immunity with regard to the bankruptcy estate’s claims that
         arise from the same transaction or occurrence as the state’s
         claim”), a tribe does not waive its sovereign immunity
         where, as here, it asserted its immunity defense promptly
         upon intervention in the suit and only ever voiced an intent
         to do precisely that.
             The Tribe’s limited intervention for the purpose of filing
         a motion to dismiss under Rule 12(b)(7) does not constitute
         the “clear and unequivocal waiver that is required for a tribe
         to relinquish its immunity from suit.” Bodi, 832 F.3d at
         1014. Because the Tribe has not waived its sovereign
         immunity, it cannot be feasibly joined in this action.
            C. This litigation cannot proceed in equity and good
             conscience without the Shoalwater Bay Indian Tribe.
             Turning to the final step of the Rule 19 analysis, we must
         determine “whether, in equity and good conscience, the
         action should proceed among the existing parties or should
         be dismissed” under Rule 19(b). Fed. R. Civ. P. 19(b); see
         also Diné Citizens, 932 F.3d at 857.
                                       1.
             “To determine whether a suit should proceed among the
         existing parties where a required party cannot be joined,
         courts consider (i) potential prejudice, (ii) possibility to
         reduce prejudice, (iii) adequacy of a judgment without the
         required party, and (iv) adequacy of a remedy with
         dismissal.” Klamath Irrigation, 48 F.4th at 947 (citing Fed.
         R. Civ. P. 19(b)). However, “[t]he balancing of equitable
         factors under Rule 19(b) almost always favors dismissal
         when a tribe cannot be joined due to tribal sovereign
         immunity.” Deschutes River All., 1 F.4th at 1163 (quoting
         Jamul Action Comm., 974 F.3d at 998). The district court
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         did not abuse its discretion in concluding that a balancing of
         these factors requires that it dismiss this action.
             The first Rule 19(b) factor, which considers “the extent
         to which a judgment rendered in the person’s absence might
         prejudice that person or the existing parties,” Fed. R. Civ. P.
         19(b)(1), “largely duplicates the consideration that made a
         party necessary under Rule 19(a),” Am. Greyhound Racing,
         Inc. v. Hull, 305 F.3d 1015, 1025 (9th Cir. 2002). As
         discussed, the Tribe has a legitimate and substantial interest
         in the legality of its tribal-state gaming compact and its
         amendments, an interest that implicates the Tribe’s
         sovereign rights and which the federal government cannot
         adequately represent on the Tribe’s behalf. See Diné
         Citizens, 932 F.3d at 857. Because Maverick’s suit seeks to
         invalidate that compact and the sports betting amendment,
         the potential prejudice to the Tribe if a judgment were
         rendered in its absence “would be enormous.” Am.
         Greyhound Racing, Inc., 305 F.3d at 1025. This factor
         clearly favors dismissal.
              The district court also correctly concluded that the
         second factor, “the extent to which any prejudice could be
         lessened or avoided by: (A) protective provisions in the
         judgment; (B) shaping the relief; or (C) other measures,”
         weighs in the Tribe’s favor. Fed. R. Civ. P. 19(b)(2). The
         district court found that the relief that Maverick seeks for its
         APA and federal equal protection claims cannot be tailored
         to lessen the prejudice faced by the Tribe because “Maverick
         seeks nothing less than a wholesale revocation of the tribes’
         ability to operate casino gaming facilities” through the
         invalidation of its tribal-gaming compact. Maverick argues
         that, on its Criminal Prohibition claim, the district court
         could instead provide relief in the form of an injunction
         preventing the State Defendants from enforcing the state’s
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         criminal laws against Maverick, thereby shaping the relief to
         avoid invalidation of the tribal-gaming compacts. But even
         that relief would impair what Maverick has conceded are the
         Tribe’s sovereign and economic interests in gaming
         exclusivity.
              Maverick also asserts that we could lessen any prejudice
         to the Tribe by allowing it to participate instead as an amicus.
         But “[a]micus status is not sufficient” to lessen prejudice.
         Makah, 910 F.2d at 560 (citing Wichita & Affiliated Tribes
         of Okla. v. Hodel, 788 F.2d 765, 775 (D.C. Cir. 1986) (“If
         the opportunity to brief an issue as a non-party were enough
         to eliminate prejudice, non-joinder would never be a
         problem since the court could always allow the non-joinable
         party to file amicus briefs.”)).
             The third consideration, however, weighs in Maverick’s
         favor mitigating against dismissal. This factor evaluates
         “whether a judgment rendered in the person’s absence would
         be adequate.” Fed. R. Civ. P. 19(b)(3). Despite the varied
         and extensive relief sought in the First Amended Complaint,
         Maverick now contends that it would be satisfied with
         limiting its complaint to its APA claim only and seeking
         relief solely in the form of a judgment declaring the
         Secretary’s approval of the sports betting compact
         amendments invalid. Thus, the question becomes whether a
         judgment that invalidates the Secretary’s approval of the
         sports betting compact amendments would be adequate as
         between Maverick and the Federal Defendants. Under
         similar circumstances in Diné Citizens, we found that “[a]
         judgment rendered in NTEC’s absence would be adequate
         and would not create conflicting obligations, because it is
         Federal Defendants’ duty, not NTEC’s, to comply with” the
         federal statutes at issue. Diné Citizens, 932 F.3d at 858.
         Here, because it is the duty of the Secretary, not the Tribe, to
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         approve the compact amendments under IGRA, a judgment
         invalidating that approval would provide adequate relief as
         between the Federal Defendants and Maverick.
              Finally, we must determine “whether the plaintiff would
         have an adequate remedy if the action were dismissed for
         nonjoinder.” Fed. R. Civ. P. 19(b)(4). Because there is no
         alternative judicial forum in which Maverick could seek the
         relief it requests, the district court found that this factor
         weighs in favor of Maverick. However, “we have regularly
         held that the tribal interest in immunity overcomes the lack
         of an alternative remedy or forum for the plaintiffs.” Am.
         Greyhound Racing, Inc., 305 F.3d at 1025. Indeed, we have
         found “a wall of circuit authority in favor of dismissing
         actions in which a necessary party cannot be joined due to
         tribal sovereign immunity—virtually all of the cases to
         consider the question appear to dismiss under Rule 19,
         regardless of whether an alternative remedy is available, if
         the absent tribes are Indian tribes invested with sovereign
         immunity.” Deschutes River All., 1 F.4th at 1163 (quoting
         Diné Citizens, 932 F.3d at 857) (internal quotation marks
         and alterations omitted). Thus, even though both the third
         and fourth factors weigh in favor of allowing the litigation
         to proceed, the district court did not abuse its discretion in
         concluding that, in light of the Tribe’s sovereign immunity
         and the prejudice the Tribe would suffer if the suit proceeded
         in its absence, Maverick’s suit must be dismissed.
                                       2.
             Alternatively, Maverick argues that the litigation should
         continue in the Tribe’s absence under the public rights
         exception. “The public rights exception is a limited
         ‘exception to traditional joinder rules’ under which a party,
         although necessary, will not be deemed ‘indispensable,’ and
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         the litigation may continue in the absence of that party.”
         Diné Citizens, 932 F.3d at 858 (citing Conner v. Burford,
         848 F.2d 1441, 1459 (9th Cir. 1988)). This exception is
         reserved for those circumstances where the litigation both
         “transcend[s] the private interests of the litigants and seek[s]
         to vindicate a public right,” and does not “destroy the legal
         entitlements of the absent parties.” Kescoli, 101 F.3d at
         1311 (quoting Connor, 848 F.2d at 1459). Maverick’s
         argument that this action comes within the public rights
         exception fails on both counts.
             First, although Maverick frames its suit as one merely
         “seeking to enforce governmental compliance with
         administrative and constitutional law,” we have already
         rejected this argument in American Greyhound Racing, Inc.
         v. Hull, where, as here, the plaintiffs challenged the validity
         of tribal-gaming compacts under IGRA. 305 F.3d at 1025–
         27. Despite the plaintiffs’ contention “that their action seeks
         only to ensure that the Governor acts in accordance with the
         state constitution and laws,” we found that their real “interest
         [was] in freeing themselves from the competition of Indian
         gaming, not in establishing for all the principle of separation
         of powers.” Id. at 1026.
             The same holds true here. The First Amended Complaint
         contains numerous allegations of the competitive harm
         Maverick suffers, and hopes to eradicate, by means of this
         lawsuit. For example, Maverick alleges that “[b]ecause the
         Tribes can offer [class III] games . . . but Maverick cannot,
         Maverick suffers competitive injury with tribal casinos,” and
         that because Washington’s criminal laws prohibit it from
         offering class III gaming, “Maverick cannot establish or
         acquire gaming operations in Washington that can
         effectively compete with the Tribes’ operations.” To
         diminish this competition, Maverick seeks nothing less than
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         the invalidation of the tribal-gaming compacts of all
         Washington’s tribes. Just as in American Greyhound
         Racing, Maverick’s suit does not “incidentally affect the
         gaming tribes in the course of enforcing some public right,”
         but is instead “aimed at the tribes and their gaming.” Id. at
         1026. Any incidental affect that Maverick’s suit could have
         in ensuring “governmental compliance with administrative
         and constitutional law” does not transcend Maverick’s
         private interest in increasing its own revenue.
             Maverick also argues that the district court erred in
         finding that its suit seeks to invalidate the Tribe’s
         acknowledged legal entitlement, because tribal-state
         compacts do not confer private legal rights but rather set the
         balance of public regulatory authority among different
         sovereigns. Maverick is correct that IGRA, which Congress
         enacted in response to the Supreme Court’s ruling in
         Cabazon, seeks “to balance the competing sovereign
         interests of the federal government, state governments, and
         Indian tribes, by giving each a role in the regulatory
         scheme.” Chicken Ranch Rancheria, 42 F.4th at 1032
         (quoting Pauma Band of Luiseno Mission Indians of Pauma
         & Yuima Rsrv. v. California, 813 F.3d 1155, 1160 (9th Cir.
         2015)). But that is not the statute’s only, nor even primary,
         objective. IGRA’s stated purpose is to “promot[e] tribal
         economic development, self-sufficiency, and strong tribal
         governments.” 25 U.S.C. § 2702(1). It facilitates these
         goals by, for example, requiring that net revenue from tribal
         gaming be used for specific sovereign functions. Id.
         § 2710(b)(2)(B), (d)(1)(A)(ii). Although IGRA also seeks
         “to provide a statutory basis for the regulation of gaming by
         an Indian tribe,” 25 U.S.C. § 2702(2), even those regulatory
         objectives are “generally focused on the integrity of the
         gaming enterprise itself.” Chicken Ranch Rancheria, 42
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         F.4th at 1031. IGRA’s very purpose is to confer legal
         entitlements to the Tribe, and all other federally recognized
         Indian tribes, in the form of tribal-state gaming compacts.
         And these tribal-gaming compacts are what Maverick seeks
         to invalidate.
             Even if “some of the interests [Maverick] seek[s] to
         vindicate, like the interest in being governed by
         constitutional laws, are public rights,” that is not sufficient
         where, as here, the litigation poses a threat “to the absent
         tribes’ legal entitlements, and indeed to their sovereignty.”
         See Shermoen, 982 F.2d at 1319. Because Maverick’s suit
         could destroy these legal entitlements, the district court did
         not abuse its discretion in determining that the public rights
         exception does not apply.
                              V. CONLUSION
                 Because the Tribe is a required party that cannot be
         joined to the litigation on account of its sovereign immunity,
         and because the suit cannot in equity and good conscience
         proceed in the Tribe’s absence, we AFFIRM the district
         court’s dismissal of Maverick’s First Amended Complaint.
            AFFIRMED.
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         MILLER, Circuit Judge, concurring:

             Maverick Gaming LLC brought this action against the
         United States and various federal and state officials
         challenging their actions relating to the regulation of gaming
         in Washington State, and, in particular, to a gaming compact
         between the State and the Shoalwater Bay Indian Tribe.
         Under our precedent, the Tribe is a required party that must
         be joined as a defendant. Because the Tribe’s sovereign
         immunity prevents it from being joined without its consent,
         I agree with the court that Maverick’s action cannot proceed.
         Although I join the court’s opinion in full, I write separately
         to explain, first, that our precedent on Rule 19 has not
         adequately considered the distinctive character of litigation
         under the Administrative Procedure Act and, second, that a
         competitive injury, by itself, is not enough to make a tribe a
         required party.
                                        I
             Federal Rule of Civil Procedure 19(a)(1) makes a person
         a “required party” who “must be joined” when feasible if
         “that person claims an interest relating to the subject of the
         action and is so situated that disposing of the action in the
         person’s absence may . . . as a practical matter impair or
         impede the person’s ability to protect the interest.” Fed. R.
         Civ. P. 19(a)(1). Ordinarily, “an absent party’s ability to
         protect its interest will not be impaired by its absence from
         the suit where its interest will be adequately represented by
         existing parties to the suit.” Alto v. Black, 738 F.3d 1111,
         1127 (9th Cir. 2013) (quoting Washington v. Daley, 173 F.3d
         1158, 1167 (9th Cir. 1999)).
            Count one of Maverick’s complaint invokes the APA to
         challenge the Secretary of the Interior’s approval of the
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         Tribe’s gaming compact with the State. The Secretary is
         fully capable of defending her approval of the compact, and
         she has made clear that she is prepared to do so in this
         litigation. But under our precedent, that is not enough. In
         Diné Citizens Against Ruining Our Environment v. Bureau
         of Indian Affairs, we held that a tribe that had been issued a
         mining permit was a required party in an APA challenge to
         the issuance of the permit. 932 F.3d 843, 856 (9th Cir. 2019).
         Even though the Department of the Interior was prepared to
         defend its action, we rejected the view that it could
         adequately represent the absent tribe’s interest. Instead, we
         held that to be an adequate representative, the federal
         government must share an interest not only in seeing the
         challenged agency action upheld but also in the “outcome,”
         or consequences, of upholding that action. Id. at 855. We
         applied similar reasoning in Klamath Irrigation District v.
         United States Bureau of Reclamation, an APA case in which
         we acknowledged that the federal government and the tribes
         “share an interest in the ultimate outcome” but nevertheless
         concluded that “such alignment on the ultimate outcome is
         insufficient for us to hold that the government is an adequate
         representative of the tribes” when they shared the same
         interest for different reasons. 48 F.4th 934, 945 (9th Cir.
         2022).
             When an Indian tribe is a required party, it cannot be
         joined without its consent because it enjoys sovereign
         immunity. See Michigan v. Bay Mills Indian Cmty., 572 U.S.
         782, 788 (2014). Under Rule 19, if a required party “cannot
         be joined, the court must determine whether, in equity and
         good conscience, the action should proceed among the
         existing parties or should be dismissed.” Fed. R. Civ. P.
         19(b). In practice, when tribal sovereign immunity is
         involved, that means that the case must be dismissed: “[W]e
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         have observed that there is a ‘wall of circuit authority’ in
         favor of dismissing actions in which a necessary party
         cannot be joined due to tribal sovereign immunity—
         ‘virtually all the cases to consider the question appear to
         dismiss under Rule 19, regardless of whether [an alternate]
         remedy is available, if the absent parties are Indian tribes
         invested with sovereign immunity.’” Diné Citizens, 932 F.3d
         at 857 (quoting White v. University of Cal., 765 F.3d 1010,
         1028 (9th Cir. 2014)).
              Those principles compel affirmance of the dismissal
         here. Although Maverick attempts to distinguish our
         decisions in Diné Citizens and Klamath Irrigation District, I
         agree with the court that its efforts to do so are unpersuasive.
         I am not convinced, however, that our precedents on this
         issue are correct. In my view, our decisions have not given
         adequate weight to the distinctive character of APA
         litigation.
              In an APA case, the only question to be decided is
         whether the agency’s action should be set aside. Because the
         agency’s action is judged on the rationale articulated by the
         agency itself, the agency is the best party to defend it. See
         SEC v. Chenery, 332 U.S. 194, 196 (1947). And the APA
         does not authorize relief against any party other than the
         agency. See 5 U.S.C. §§ 702, 706. (In this case, count one of
         the complaint was phrased overly broadly and purported to
         seek relief against the Tribe itself, but Maverick has since
         made clear that it does not seek such relief; instead, it seeks
         a judgment setting aside the Secretary’s approval of the
         compact, which is the only relief authorized by the APA.)
         Although a judgment setting aside the agency’s action might
         have collateral consequences for non-parties like the Tribe,
         it leaves those non-parties no worse off than they would be
         had the agency not taken the challenged action in the first
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         place. In other words, an APA lawsuit threatens no interests
         beyond the interest in seeing agency action upheld, which
         the agency itself can be expected to represent. That is true
         even when the non-parties are sovereigns: Whatever legally
         protected interest a non-federal sovereign might have in
         APA litigation is collateral to the federal government’s
         primary interest in seeing its own action upheld.
             The required-parties approach of Diné Citizens threatens
         to “sound[] the death knell for any judicial review of
         executive decisionmaking” in the wide range of cases in
         which agency actions implicate the interests of Indian tribes.
         Conner v. Burford, 848 F.2d 1441, 1460 (9th Cir. 1988).
         That is so because, as noted, we have also held that “equity
         and good conscience” virtually always require dismissal in
         this context, see Diné Citizens, 932 F.3d at 857–58, and
         because we have refused to apply the “public rights”
         exception to joinder rules when tribal interests are at stake,
         see id. at 858–61. The combined effect of those holdings
         “produce[s] an anomalous result”—namely, that “[n]o one,
         except [a] Tribe, could seek review of” agency actions
         affecting tribal interests. Manygoats v. Kleppe, 558 F.2d
         556, 559 (10th Cir. 1977). That result frustrates Congress’s
         directive that a person “adversely affected or aggrieved by
         agency action . . . is entitled to judicial review thereof.” 5
         U.S.C. § 702.
             Our decisions in Diné Citizens and Klamath Irrigation
         District have created a circuit conflict. The Tenth Circuit has
         held that a tribe is not a required party in an APA action
         challenging a federal decision to acquire land in trust for the
         tribe because “the Secretary’s interest in defending his
         determinations is ‘virtually identical’” to the tribe’s interest,
         and that even if the tribe were a required party, the lack of
         “any alternative forum in which plaintiffs’ claims can be
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         heard” weighs against dismissal. Sac & Fox Nation of
         Missouri v. Norton, 240 F.3d 1250, 1259–60 (10th Cir.
         2001) (quoting Rishell v. Jane Phillips Episcopal Mem’l
         Med. Ctr., 94 F.3d 1407, 1412 (10th Cir. 1996)). Similarly,
         the District of Columbia Circuit has held that a tribe is not a
         required party to an APA challenge to the Secretary of the
         Interior’s plan for allocating funds to tribes. Ramah Navajo
         Sch. Bd., Inc. v. Babbitt, 87 F.3d 1338, 1350–52 (D.C. Cir.
         1996). In an appropriate case, we should revisit the
         application of Rule 19 to APA actions and consider aligning
         our decisions with those of other courts of appeals.
                                       II
             Required-party status under Rule 19 must be assessed on
         a claim-by-claim basis. See Lyon v. Gila River Indian Cmty.,
         626 F.3d 1059, 1068 (9th Cir. 2010); Makah Indian Tribe v.
         Verity, 910 F.2d 555, 559 (9th Cir. 1990). Our precedent
         compels the dismissal of counts one and two of Maverick’s
         complaint, but count three calls for a somewhat different
         analysis.
             Count three seeks a declaration that the State’s
         “enforcement of Washington’s criminal laws prohibiting
         class III gaming . . . violates the Constitution’s guarantee of
         equal protection, and a declaration prohibiting the
         Defendants from enforcing those laws against Maverick.” In
         other words, Maverick seeks a declaration that it is allowed
         to conduct gaming. That claim implicates the Tribe’s
         economic interests because the Tribe would suffer
         competitive injury if non-tribal entities were allowed to
         conduct gaming. But it does not implicate any legally
         protected interest of the Tribe, which is what Rule 19
         requires. See Diné Citizens, 932 F.3d at 852 (“To satisfy
         Rule 19, an interest must be legally protected and must be
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         ‘more than a financial stake.’” (quoting Makah Indian Tribe,
         910 F.2d at 558)). The Tribe is therefore not a required party
         to this count, any more than a tribe that enjoys an exemption
         from a state gas tax would be a required party to a suit
         challenging the application of the gas tax to others. Cf.
         Washington State Dep’t of Licensing v. Cougar Den, Inc.,
         586 U.S. 347, 350 (2019).
             As the court’s opinion explains, however, Maverick did
         not preserve this issue below. To the contrary, the district
         court correctly observed that Maverick did not dispute that
         the Tribe “has a legally protected interest that could be
         impaired by the instant litigation,” without distinguishing
         among the different counts of the complaint. I therefore
         agree that we must affirm the dismissal of count three along
         with the rest of the complaint.
